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6 Counsel for Plaintiffs and the Proposed Class
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8                           UNITED STATES DISTRICT COURT
9
                          CENTRAL DISTRICT OF CALIFORNIA
10
                          (WESTERN DIVISION – LOS ANGELES)
11
12   GRANT MCKEE, ERIC WEBER, and                      Case No. 2:17-cv-01941 GW (Ex)
13   MICHAEL ROGAWSKI, individually
     and on behalf of all others similarly
14   situated,                                         PLAINTIFF MICHAEL
15                                                     ROGAWSKI’S REQUEST UNDER
                  Plaintiffs,                          LOCAL RULE 7-10 TO FILE
16                                                     SURREPLY IN OPPOSITION TO
     v.
17                                                     AUDIBLE’S MOTION TO COMPEL
     AUDIBLE, INC.,                                    ARBITRATION AND DISMISS
18                                                     CLAIMS
19                Defendant.

20                                                     Date:                July 23, 2018
                                                       Time:                8:30 a.m.
21                                                     Courtroom:           9D
22                                                     Judge:               Hon. George H. Wu
                                                       Trial date:          None set
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      PLAINTIFF MICHAEL ROGAWSKI’S REQUEST UNDER LOCAL RULE 7-10 TO FILE SURREPLY IN OPPOSITION TO
                      AUDIBLE’S MOTION TO COMPEL ARBITRATION AND DISMISS CLAIMS
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 1         Pursuant to Local Rule 7-10, Plaintiff Michael Rogawski respectfully requests
 2 leave to file a surreply in opposition to Defendant Audible, Inc.’s motion to compel
 3 arbitration and dismiss claims. Dkt. 73 (Audible’s motion); Dkt. 97 (tentative ruling).
 4 Rogawski’s proposed surreply is attached as Exhibit 1.
 5         Audible failed to meet its burden to prove it gave Rogawski reasonable notice of
 6 its arbitration clause on September 30, 2015 when Rogawski used a credit to “pre-order”
 7 an audiobook on Amazon.com’s desktop website. See Dkt. 97. The Court’s tentative
 8 ruling indicated it was inclined to grant Audible’s motion, but that its inclination was
 9 subject to the parties’ meet and confer efforts as to what business records Audible’s
10 declarant Aniket Gune had relied on to testify that the webpage Rogawski viewed was
11 “the same” as the webpage Plaintiff Seth Beals had viewed. Id. Plaintiffs’ counsel had
12 indicated a willingness to meet and confer as to evidentiary issues to avoid formal
13 discovery and/or an evidentiary hearing, reserving the right to argue that Audible’s
14 evidence was insufficient to prove that no genuine issues of material fact existed as to
15 Rogawski’s notice of and agreement to Audible’s arbitration clause. Id.
16         Plaintiffs’ counsel and Audible’s counsel thereafter met and conferred multiple
17 times telephonically and by correspondence as to evidentiary issues. Because Audible
18 did not have any business records that showed the exact version of the “pre-order”
19 webpage Rogawski would have viewed on September 30, 2015, Audible had a new
20 declarant create a new “mock up” of what Audible contends the webpage would have
21 looked like on September 30, 2015. Plaintiffs’ counsel agreed to accept Audible’s new
22 declaration and related screenshots as Audible’s best evidence as to what it contends
23 Rogawski would have seen on September 30, 2015 in order to avoid formal discovery
24 (e.g., depositions of Audible’s declarants) or a formal evidentiary hearing on the issue,
25 but Plaintiffs’ counsel could not concede that Audible’s efforts resolved all remaining
26 legal issues as to Rogawski.
27         Plaintiffs’ counsel also indicated to Audible’s counsel that Rogawski would
28 include in his supplemental brief a request that the Court address the unconscionability
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       PLAINTIFF MICHAEL ROGAWSKI’S REQUEST UNDER LOCAL RULE 7-10 TO FILE SURREPLY IN OPPOSITION TO
                       AUDIBLE’S MOTION TO COMPEL ARBITRATION AND DISMISS CLAIMS
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 1 issues with respect to Rogawski’s specific circumstances (e.g., as an existing Audible
 2 member with numerous credits he would have been forced to forfeit had he rejected
 3 Audible’s retroactive arbitration clause). The Court’s tentative ruling did not specifically
 4 address unconscionability issues and instead cited its prior rulings. Dkt. 97 at 19.
 5         As of the date of this filing, Audible had not responded to Plaintiffs’ counsel’s
 6 supplemental briefing proposal. Plaintiffs’ counsel has four depositions scheduled for
 7 June 26 and 27, 2018, and will be traveling out-of-state from June 28 through July 10,
 8 2018. In order to have the remaining issues related to Audible’s motion to compel
 9 arbitration and dismiss claims as to Rogawski addressed promptly, and in order to
10 accommodate his travel schedule, Plaintiffs’ counsel could not wait any longer to seek
11 Audible’s agreement on a supplemental briefing schedule before filing this request to file
12 surreply.
13         Rogawski respectfully requests that the Court grant his request to file a surreply in
14 opposition to Audible’s motion to compel arbitration and dismiss claims. Dkt. 97.
15 Rogawski does not oppose any request by Audible to file a supplement brief on or before
16 July 16, 2018 responding to Rogawski’s surreply and attaching the new evidence it
17 believe the Court should consider with respect to Rogawski’s use of a credit to “pre-
18 order” an audiobook on September 30, 2015. Rogawski further requests that the Court
19 address the remaining issues as to Rogawski at the already-scheduled motions hearing in
20 this case on July 23, 2018.
21
22 Dated: June 25, 2018                       SODERSTROM LAW PC
23                                            By: /s/ Jamin S. Soderstrom
                                                  Jamin S. Soderstrom
24                                            Counsel for Plaintiffs and the Proposed Class
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       PLAINTIFF MICHAEL ROGAWSKI’S REQUEST UNDER LOCAL RULE 7-10 TO FILE SURREPLY IN OPPOSITION TO
                       AUDIBLE’S MOTION TO COMPEL ARBITRATION AND DISMISS CLAIMS
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1                                CERTIFICATE OF SERVICE
2         The undersigned certifies that on, June 25, 2018, I caused the foregoing document
3 to be served on all counsel of record by the Court’s CM/ECF electronic filing system.
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5                                            By: /s/ Jamin S. Soderstrom
6                                                 Jamin S. Soderstrom
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      PLAINTIFF MICHAEL ROGAWSKI’S REQUEST UNDER LOCAL RULE 7-10 TO FILE SURREPLY IN OPPOSITION TO
                      AUDIBLE’S MOTION TO COMPEL ARBITRATION AND DISMISS CLAIMS
